3/6/2019                                    Loevy
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                                               111-1      Mail - Jaimes:
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                                                                                     Danielle Hamilton <hamilton@loevy.com>



  Jaimes: Following Up
  Katie Roche <katie@loevy.com>                                                                      Thu, Jan 10, 2019 at 1:00 PM
  To: eekl@reiterburns.com
  Cc: Michael Kanovitz <mike@loevy.com>, Danielle Hamilton <hamilton@loevy.com>

    Hi Beth,

    I write to summarize our discussion this week regarding several topics. Please let me know if anything is inaccurate so
    that we can address any disagreements.

    You are currently in possession of all personnel files and will redact and produce them by this Friday, January 11. You are
    also in the process of acquiring the insurance policies and will produce them shortly.

    The parties agreed to hold January 18th open for Mr. Burke's deposition, and if he is not available that date, his
    deposition will proceed the following week on a day he is available between January 22-25.

    You will speak with Mr. Pon regarding the IAPro reports I requested in my 12/14/18 email and report back about which
    reports can be generated and which reports cannot be generated due to certain information not be tracked. Similarly, you
    will confirm that we have all investigations contained in IAPro that relate to Erika Aguirre and produce any that we do not
    already have.

    We also discussed the production of documents relating to Plaintiff's Monell claims, and more specifically, the 40 sample
    files you previously produced. Moving forward, the parties agree that the next batches in the rolling productions of
    complaints should encompass: (a) all Cook County officer complaints against other Cook County officers; (b) all citizen
    complaints against Cook County officers, including family members complaining against Cook County officers; and (c)
    any other 3rd party complaints against Cook County officers. Inmate complaints against officers will continue to be
    produced on a rolling basis after these categories of complaints have been provided.

    Lastly, you are also in the process of acquiring all documents related to Erika Aguirre's Sheriff's Police Department
    applications including but not limited to test results.

    Thanks,

    Katie
    --
    Katie Roche
    Loevy & Loevy
    311 N. Aberdeen Street, 3rd Floor
    Chicago, Illinois 60607
    (312) 243-5900




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